           Case
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 8
 9                              UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12   WAYMO LLC,                                    )   Case No.: 3:17-cv-00939-WHA
                                                   )
13                                                 )
                  Plaintiff,                       )   ANTHONY LEVANDOWSKI’S
14                                                 )   NOTICE OF APPEAL OF ORDER AT
           v.
                                                   )   DOCKET NO. 745
15                                                 )
     UBER TECHNOLOGIES, INC., et al.,              )
16                                                 )
                   Defendants.                     )
17                                                 )
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     ANTHONY LEVANDOWSKI’S NOTICE OF APPEAL (DKT. NO. 745)
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 1           Notice is hereby given that Anthony Levandowski, intervenor in the above-captioned
 2   case, appeals to the United States Court of Appeals for the Federal Circuit from the district
 3   court’s order denying Mr. Levandowski’s Motion for Relief From Judge Corley’s Nondispositive
 4   Pretrial Order re Subpoena to Stroz Friedberg entered in this action on June 27, 2017 (Dkt. No.
 5   745).
 6
 7   Date:    June 29, 2017                               Respectfully submitted,
 8
 9                                                        /s/
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                                                          Amy Craig
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     ANTHONY LEVANDOWSKI’S NOTICE OF APPEAL (DKT. NO. 745)
     Case No.: 3:17-cv-00939-WHA
